




NO. &nbsp;07-06-0002-CR

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;07-06-0003-CR

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;07-06-0004-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JANUARY 30, 2006

______________________________



DAVID LONGORIA, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 364
TH
 DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2004-407301; 2004-407304; 2004-407306;



HONORABLE BRADLEY S. UNDERWOOD, JUDGE

_______________________________





Before REAVIS and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION

Appellant David Longoria seeks to appeal judgment in three cases for the offense of Manufacture/Deliver Controlled Substance. &nbsp;We dismiss the appeals for want of jurisdiction. &nbsp;

On September 2, 2005, appellant made an open plea of guilty, was convicted on each cause, and the trial court set appellant’s sentences. 

On September 29, 2005, appellant filed a Motion for New Trial and Motion in Arrest of Judgment. &nbsp;Appellant then filed Notice of Appeal on December 30, 2005. &nbsp;Appellant filed a Motion for Extension of Time to File Notice of Appeal on January 19, 2006. &nbsp;The trial court has certified that appellant has the right to appeal.

Appellant’s notice of appeal was due on or before December 1, 2005.
 &nbsp;Tex. R. App. P.
 26.2(a). &nbsp;The time for filing a notice of appeal may be extended for 15 days under certain circumstances. &nbsp;
Tex. R. App. P.
 26.3. &nbsp;For the time to file a notice of appeal to be extended, both a notice of appeal and a motion for extension of time, which complies with Rule 10.5(b), must be filed within 15 days of the deadline for the notice of appeal. &nbsp;
Id
; 
Olivio v. State
, 918 S.W.2d 519, 522 (Tex.Crim.App. 1996). &nbsp;Appellant’s notice of appeal and motion for extension of time were not filed within this 15-day period and are, therefore, untimely. &nbsp;

In a criminal case, appeal is perfected by timely filing a sufficient notice of appeal. &nbsp;
Tex. R. App. P.
 25.2(b), 26.2. &nbsp;A timely filed notice of appeal is essential to invoke our appellate jurisdiction. &nbsp;
Slaton v. State
, 981 S.W.2d 208, 210 (Tex.Crim.App. 1998); 
Olivio
, 918 S.W.2d at 522. 



Appellant’s failure to timely file notice of appeal prevents this court from having jurisdiction over the appeals. &nbsp;Accordingly, the appeals are dismissed for want of jurisdiction.
(footnote: 1) &nbsp;
Tex. R. App. P.
 39.8, 40.2, 43.2(f). &nbsp;



Mackey K. Hancock

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice &nbsp;









Do not publish. &nbsp;









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FOOTNOTES
1: Appellant may be entitled to an out-of-time appeal by filing a post-conviction writ of habeas corpus returnable to the Texas Court of Criminal Appeals. &nbsp;
See
 
Tex. Code Crim. Proc. Ann.
 art 11.07 (Vernon 2005); 
see
 
also
 
Ater v. Eighth Court of Appeals
, 802 S.W.2d 241 (Tex.Crim.App. 1991). &nbsp;




